                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                          CRIMINAL DOCKET NO.: 5:01CR5-V


UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                           ORDER
KOVA DUAN WRIGHT,                   )
                  Defendant.        )
___________________________________ )


        THIS MATTER is before the Court on various miscellaneous motions submitted by

Defendant Wright in connection with his post-conviction Motion for Reduction of Sentence pursuant

to 18 U.S.C. §3582(c)(2) and Amendment 706 to the United States Sentencing Guidelines.

(Documents ##901-903, 908)

        Defendant, through counsel, seeks authorization for release of certain non-public materials,

an order directing the U.S. Probation Department to revise its Supplemental Presentence Report of

April 22, 2009 (Document #860), and an order permitting his Motion for a Revised Supplemental

Report to be made under seal. For purposes of advancing the case, the relief sought by Defendant

Wright will be granted.1



        IT IS, THEREFORE, ORDERED THAT:
        1) Defendant’s Motion for Provision of Documents, Motion for a Revised Supplemental
        Presentence Report, Motion to File Under Seal, and Motion for Entry of Orders are all hereby
        GRANTED. Accordingly, the Clerk’s Office is authorized to release a copy of Documents
        ##686 and 689 to Attorney Charles Brewer and Document #902 will remain under seal;


        1
          The Court does not ordinarily require the U.S. Probation Department to revise or amend its
own reports. However, in this particular case, the Court will request that the responsible U.S. Probation
Officer review the issues raised by counsel within Document #902 and make any appropriate corrections
or revisions such that the record may be transparent and readily reviewed in the event of appeal.



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2)    If appropriate, the U.S. Probation Department may revise its April 22, 2009
Supplemental Presentence Report on or before Monday, February 7, 2011; and
3) The Deputy Clerk is directed to forward a copy of this Order to Defense Counsel, the U.S.
Attorney’s Office, and the U.S. Probation Department.




                                         Signed: January 18, 2011




                                         2



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